* REPORTER'S NOTE — For a subsequent report in this litigation, see post, 647.
Mandamus was brought in the Court of Appeals to compel the Industrial Commission of Ohio to certify a transcript of the record taken on rehearing disallowing a claim for workmen's compensation and to file the transcript in the Court of Common Pleas as required by Section 1465-90, General Code.
A praecipe was filed for summons upon the Industrial Commission, with direction therein to serve the branch manager of the commission at Cleveland, a summons was issued, service was had upon such branch manager and return was duly made by the sheriff.
The Industrial Commission, only for the purpose of the motion and without entering its appearance, moved to quash the service of summons for the reason that the Court of Appeals had no jurisdiction of the parties and such service did not give that court jurisdiction of the Industrial Commission of Ohio.
The Court of Appeals sustained the motion to quash service of summons.
Appeal on questions of law and in a case originating in the Court of Appeals was perfected in this court, *Page 14 
the assignment of error reciting that the Court of Appeals erred in granting the motion to quash service of summons, which motion was based upon the ground that the Court of Appeals had no jurisdiction over the person of the respondent in that court.
The Industrial Commission filed its motion in this court to dismiss the appeal on the ground that no final order was entered in the Court of Appeals.
No final order having been entered in the Court of Appeals, the motion to dismiss the appeal is sustained and the appeal is dismissed.
Appeal dismissed.
WEYGANDT, C.J., STEPHENSON, WILLIAMS, JONES, MATTHIAS and DAY, JJ., concur.
ZIMMERMAN, J., not participating.